                                           United States District Court
                    MIDDLE                                               District of                                TENNESSEE

          UNITED STATES OF AMERICA                                                 AMENDED JUDGMENT IN A CRIMINAL CASE*
                               V.
                                                                                   Case Number:           3:13-00090-11 and 3:13-00116-1
          OSVALDO NIETO-VEGA
                                                                                   USM Number:            21636-075

                                                                                   John P. Cauley
                                                                                   Defendant’s Attorney
THE DEFENDANT:
  X         pleaded guilty to Count 1 of the Indictment in Case No. 3:13-00116-01 and Count 21 of the Second Superseding
          Indictment in Case No. 3:13-00090-11.

             pleaded nolo contendere to count(s)
             which was accepted by the court.
             was found guilty on count(s)
             after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                          Nature of Offense                                                          Offense Ended                Count

Case No. 3:13-00116-01:
18 U.S.C. § 1326(a)                      Illegal Reentry after Previous Deportation                                 May 22, 2013             1

Case No. 3:13-00090-11
18 U.S.C. §§641 and 2                    Theft of Public Funds                                                      May 22, 2013             21

        The defendant is sentenced as provided in pages 2 through                    6          of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

             The defendant has been found not guilty on count(s)
   X       Counts 1 2,3,4,5,6,7,8,9,10,11, 12, and 20 of the Second Superseding Indictment as well as the underlying Indictment and
           Superseding Indictment are dismissed on the motion of the United States.

         It is ordered that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the Court and United States Attorney of material changes in economic circumstances.


                                                                                              January 8, 2014
                                                                                              Date of Imposition of Judgment



                                                                                              Signature of Judge


                                                                                              Kevin H. Sharp, United States District Judge
                                                                                              Name and Title of Judge

                                                                                              June 2, 2014

                                                                                              Date


*The Judgment entered May 23, 2014, is AMENDED to remove the special conditions of supervision which were not imposed by the Court.
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                                                            IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of 13 months,
which shall consist of a term of 13 months in Case No. 3:13-00116 and a term of 13 months in Case No. 3:13-00090, with such terms to
be served concurrently with each other.



                  The court makes the following recommendations to the Bureau of Prisons:



     X            The defendant is remanded to the custody of the United States Marshal.

                  The defendant shall surrender to the United States Marshal for this district:

                  _________         at ____________ a.m.        __________ p.m. on ___________________________.

                  _________         as notified by the United States Marshal.

_______           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                  _________         before 2 p.m. on _______________________________.                                                 .

                  _________         as notified by the United States Marshal.

                  _________         as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
I have executed this judgment as follows:




          Defendant delivered on                                 to

at                                           , with a certified copy of this judgment.



                                                                                            UNITED STATES MARSHAL



                                                                         By
                                                                                            DEPUTY UNITED STATES MARSHAL




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                                             CRIMINAL MONETARY PENALTIES

        The defendant must pay the total criminal monetary penalties under the Schedule of Payments on the attached sheet.

                          Assessment                                      Fine                                  Restitution
TOTALS                    $200.00 ($100 each case)                        $                                     $



                 The determination of restitution is deferred until                . An Amended Judgment in a Criminal Case (AO 245C) will
                 be entered after such determination.

                 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

                 If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
                 otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
                 victims must be paid before the United States is paid.

Name of Payee                            Total Loss*                               Restitution Ordered                    Priority or Percentage




TOTALS                                         $                                   $

                 Restitution amount ordered pursuant to plea agreement $

                 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
                 the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the Schedule
                 of Payments sheet may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

                 The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                           the interest requirement is waived for the                  fine               restitution, as long as Defendant remains
                 in compliance with the payment schedule..

                            the interest requirement for the               fine               restitution is modified as follows:


*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.




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                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A            X               Lump sum payment of $ 200 (Special Assessment) due immediately, balance due

                                         not later than                        , or
                                         in accordance                C,                  D,                  E, or                F below; or

B                            Payment to begin immediately (may be combined with                     C,          D, or            F below); or

C                            Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $           over a period of
                                                  (e.g., months or years), to commence                   (e.g., 30 or 60 days) after the date of this
                             judgment; or

D                            Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $           over a period of
                                               (e.g., months or years), to commence                    (e.g., 30 or 60 days) after release from
                             imprisonment to a term of supervision; or

E                            Payment during the term of supervised release will commence within             (e.g., 30 or 60 days) after release
                             from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at
                             that time; or

F                            Special instructions regarding the payment of criminal monetary penalties:


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


                   Joint and Several

                   Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
                   Amount, and corresponding payee, if appropriate.



                   The defendant shall pay the cost of prosecution.

                   The defendant shall pay the following court cost(s):

                   The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine interest,
(6) community restitution, (7) penalties, and (8) costs, including the cost of prosecution and court costs.




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